     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 1 of 10 Page ID #:509



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15                           UNITED STATES DISTRICT COURT
16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
17   UNITED STATES OF AMERICA,                No. CR 17-410-PSG

18              Plaintiff,                    MOTION IN LIMINE TO ADMIT CO-
                                              CONSPIRATOR STATEMENTS
19                   v.
                                              DATE:    July 9, 2018
20   KANAGASABAI KANAKESWARAN, M.D.,          TIME:    10:00 a.m.
                                              CTRM:    6A
21              Defendant.                    JUDGE:   Hon. Philip S. Gutierrez

22

23        Plaintiff United States of America, by and through its counsel
24   of record, the United States Attorney for the Central District of
25   California and the Fraud Section of the Criminal Division of the U.S.
26   Department of Justice, hereby files its Motion In Limine to Admit Co-
27   Conspirator Statements.
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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 2 of 10 Page ID #:510



1         This motion is based upon the attached memorandum of points and

2    authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated: June 11, 2018                 Respectfully submitted,

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9                                               /s/
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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 3 of 10 Page ID #:511



1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant Kanagasabai Kanakeswaran, M.D. (“defendant”) is

4    charged in this case with conspiring to receive, and receiving,

5    illegal kickbacks in exchange for referring Medicare beneficiaries to

6    a home health company called Star Home Health Resources, Inc.

7    (“Star”).

8          At trial, the government intends to introduce the statements of

9    co-conspirators under Federal Rule of Evidence 801(d)(2)(E) as

10   statements of co-conspirators made during the course of and in

11   furtherance of the conspiracy.       The co-conspirators whose statements

12   the government will seek to admit include Elaine Lat, Errol Lat,

13   Thelma Lat, and Corine Chavez.       The government’s evidence at trial is

14   expected to establish that (1) there was a conspiracy to receive and
15   pay kickbacks, (2) the defendant and declarants were participants in
16   the conspiracy, and (3) statements were made by declarants during and
17   in furtherance of this kickback conspiracy.         Accordingly, the
18   government brings this motion to admit at trial co-conspirator
19   statements pursuant to Federal Rule of Evidence 801(d)(2)(E).

20   II.   STATEMENT OF FACTS
21         Defendant is charged in this case with one count of conspiracy

22   to pay and receive illegal health care kickbacks, in violation of 18

23   U.S.C. § 371, and four counts of receiving kickbacks, in violation of

24   42 U.S.C. § 1320a-7b(b)(1)(A).       Dkt. No. 1.    The charges arise from

25   defendant’s receipt of illegal kickbacks from the owners and

26   operators of Star, a home health company that billed Medicare for

27   home health services.      Id. ¶ 16(a).    During the course of the

28   conspiracy from May 2008 to May 2016, defendant referred Medicare
     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 4 of 10 Page ID #:512



1    beneficiaries to Star in exchange for illegal kickbacks, and on the

2    basis of those referrals from defendant, Star was paid approximately

3    $4,157,311 from Medicare.      Id. ¶ 16(f).

4         Four co-conspirators in this scheme -- the owners and operators

5    of Star, Errol Lat (“Errol”), Thelma Lat (“Thelma”), Elaine Lat

6    (“Elaine”), and Corinne Chavez (“Chavez”), an employee who

7    facilitated kickback payments to the defendant from Star -- were

8    charged in a related case with conspiracy to pay illegal kickbacks to

9    referring physicians.     See United States v. Elaine Lat, et al., CR

10   No. 16-364-PSG.    Errol, Thelma, Chavez, and Elaine have all already

11   pleaded guilty to conspiracy charges.        CR No. 16-364-PSG, Dkt. 150,

12   151, 177.    Errol, Thelma and Chavez pleaded guilty and each admitted

13   in their plea agreements that they conspired and agreed with Elaine

14   to pay kickbacks for the referral of Medicare beneficiaries to the
15   defendant.   CR No. 16-364-PSG, Dkt. 143, 146, 172.
16        Specifically, as stated in the factual bases of the guilty

17   pleas: Errol, Thelma and Chavez conspired and agreed with each other

18   and with Elaine to pay kickbacks to the defendant 1 for referral of

19   Medicare beneficiaries.      For each Medicare beneficiary that the

20   defendant referred to Star, Elaine and Thelma paid the defendant

21   approximately $100-700 and Chavez approximately $100-200.            Errol was

22   aware of and approved these payments.        Chavez personally saw Elaine

23   hand cash kickbacks to the defendant on more than twenty occasions.

24   At other times, Chavez personally handed cash kickbacks to the

25   defendant for the Medicare referrals that the defendant sent to Star.

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28        1 The defendant is identified in these plea agreements as “co-
     conspirator 2” or “CC-2.”
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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 5 of 10 Page ID #:513



1    Chavez admits that she herself received a kickback for each referral

2    made by the defendant to Star.

3         At trial, the government intends to present testimony from co-

4    conspirators Errol, Thelma, and Chavez about statements made by each

5    other and by co-conspirator Elaine.         This includes statements made my

6    Elaine to Errol, Thelma and Chavez that Elaine was paying kickbacks

7    to doctors, including the defendant.

8         The government also intends to present testimony from Vincent

9    Senatin, Star’s former accountant.          Senatin is expected to testify

10   about an Excel spreadsheet kept on Star’s computer’s system which

11   recorded numerous specific kickback payments to referring physicians,

12   including the defendant.      The government intends to introduce the

13   kickback spreadsheet, along with Senatin’s testimony about Elaine’s

14   statements about the spreadsheet and instructions to Senatin about
15   how to record kickback payments to various referring physicians,
16   including the defendant.
17        The government also intends to introduce bank records, which
18   show that the defendant received cash and check payments from Star in
19   exchange for his Medicare referrals to Star.         The government also

20   intends to introduce Medicare records, including Medicare claims

21   data, which show that during the conspiracy period the defendant

22   referred a large number of Medicare beneficiaries to Star.

23   III. LEGAL STANDARD
24        Under Federal Rule of Evidence 801(d)(2), statements made by an

25   opposing party’s co-conspirator during and in furtherance of the

26   conspiracy are not hearsay.      Fed. R. Evid. 801(d)(2)(E).       To qualify

27   for admission as the statement of a co-conspirator, the prosecution

28   must establish the following preliminary facts by a preponderance of

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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 6 of 10 Page ID #:514



1    the evidence: (1) there was a conspiracy, (2) the defendant and the

2    declarant were participants in the conspiracy, and (3) the statement

3    was made by the declarant during and in furtherance of the

4    conspiracy.    United States v. Bridgeforth, 441 F.3d 864, 869 (9th

5    Cir. 2006); Bourjaily v. United States, 483 U.S. 171, 176 (1987); see

6    United States v. Bowman, 215 F.3d 951, 960 (9th Cir. 2000).

7           Whether the government has met its burden is to be determined by

8    the trial judge, not the jury.       United States v. Zavala-Serra, 853

9    F.2d 1512, 1514 (9th Cir. 1988).       The Court may rely on inadmissible

10   evidence, such as a co-conspirator’s plea agreement, in determining

11   whether the 801(d)(2)(E) exception applies.         Fed. R. Evid. 104(a)

12   (“the court must decide any preliminary question about whether . . .

13   evidence is admissible. In so deciding, the court is not bound by

14   evidence rules, except those on privilege”); Bourjaily, 483 U.S. at
15   177.    Thus, the Court may “consider the co-conspirator’s out-of-court

16   statement in assessing the statement’s admissibility.”           United States

17   v. Silverman, 861 F.2d 571, 578 (9th Cir. 1988); United States v.

18   Gordon, 844 F.2d 1397, 1402 (9th Cir. 1988) (“It is clear that the

19   hearsay may be considered in making this determination.”).

20          As to the first prong, the existence of a conspiracy, the

21   question is “merely whether there was proof of a sufficient concert

22   of action to show the individuals to have been engaged in a joint

23   venture.”    United States v. Fries, 781 F.3d 1137, 1151 (9th Cir.

24   2015).

25          Second, “only ‘slight evidence’ is necessary to connect a

26   coconspirator to the conspiracy.”       United States v. Perez, 658 F.2d

27   654, 658 (9th Cir. 1981).      In determining the members of the

28   conspiracy, an individual need not be indicted to be considered a co-

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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 7 of 10 Page ID #:515



1    conspirator for purposes of this exception to the hearsay rule.

2    United States v. Williams, 989 F.2d 1061, 1067 (9th Cir. 1993).

3         Third, in “determining whether a statement is made ‘in

4    furtherance of’ a conspiracy, the court looks to the declarant’s

5    intent in making the statement, not the actual effect of the

6    statement.”    Id. at 1068 (citing United States v. Zavala–Serra, 853

7    F.2d 1512, 1516 (9th Cir.1988)).       “It is not necessary that the

8    statement be made to another member of the conspiracy for it to come

9    under rule 801(d)(2)(E).”      Id.   “To be ‘in furtherance’ a statement

10   must advance a common objective of the conspiracy or set in motion a

11   transaction that is an integral part of the conspiracy.”           Id. (citing

12   United States v. Yarbrough, 852 F.2d 1522, 1535 (9th Cir.), cert.

13   denied, 488 U.S. 866, 109 S. Ct. 171 (1988)).         “Although mere

14   conversations or narrative declarations between coconspirators are
15   not in themselves sufficient to invoke the exception to the hearsay
16   rule, statements made to keep coconspirators abreast of an ongoing
17   conspiracy's activities satisfy the ‘in furtherance of’ requirement.”
18   Id. (citation omitted).      Statements made in an effort to conceal the
19   conspiracy are considered to be “in furtherance of the conspiracy.”

20   United States v. Lim, 984 F.2d 331, 336 (9th Cir. 1993).

21        In establishing these prerequisites, the proposed co-conspirator

22   statement must be considered but cannot by itself establish the

23   existence of or participation in the conspiracy.          Id. (citing Fed. R.

24   Evid. 801(d)(2)); Lim, 984 F.2d at 236).

25        Finally, in evaluating whether admission of the out-of-court

26   statement complies with the Sixth Amendment’s Confrontation Clause,

27   the Court must evaluate whether the out-of-court statement is

28   testimonial in nature.      Generally, co-conspirator statements are

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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 8 of 10 Page ID #:516



1    considered non-testimonial in nature, so there is no violation of the

2    Confrontation Clause if the statement is admissible under Rule

3    801(d)(2)(E).    Crawford v. Washington, 541 U.S. 36, 56 (2004);

4    Bridgeforth, 441 F.3d 864 (9th Cir.2006); United States v. Allen, 425

5    F.3d 1231, 1235 (9th Cir. 2005).

6          The Court may also conditionally admit co-conspirator statements

7    subject to a motion to strike at a later time.          “The procedure of

8    conditionally admitting co-conspirator’s statements subject to later

9    motions to strike is well within the court’s discretion.”            United

10   States v. Zemek, 634 F.2d 1159, 1169 (9th Cir. 1980); see also United

11   States v. Arbelaez, 719 F.2d 1453, 1460 (9th Cir. 1983) (no abuse of

12   discretion for a district court “to allow the government to introduce

13   coconspirator statements prior to establishing prima facie the

14   existence of a conspiracy”); Spawr Optical Research, Inc., 685 F.2d
15   1076, 1083 (9th Cir. 1982) (“The district court admitted the

16   challenged statements subject to a motion to strike if the Government

17   failed to provide sufficient proof, a procedure we have upheld.”);

18   United States v. Eubanks, 591 F.2d 513, 519 n.6 (9th Cir. 1979) (“Of

19   course, the trial judge could have conditionally admitted the

20   challenged statements, subject to a motion to strike if the

21   prosecution failed to establish the existence of the foundational

22   facts.”).

23   IV.   ARGUMENT
24         The evidence will establish by a preponderance of the evidence

25   all of the facts necessary for admission of the co-conspirator

26   statements.

27         First, with respect to the existence of a conspiracy, four

28   individuals — Errol Lat, Thelma Lat, Elaine Lat, and Corinne Chavez —

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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 9 of 10 Page ID #:517



1    have already pleaded guilty to conspiracy charges for this scheme.

2    The factual bases from the plea agreements by Errol, Thelma and

3    Chavez identify Elaine Lat and the defendant as co-conspirators.

4    Errol, Thelma and Chavez each admitted that they conspired and agreed

5    with Elaine and with each other to pay kickbacks to the defendant for

6    the referral of Medicare beneficiaries to Star.          Other witnesses,

7    such as Vincent Senatin, will admit their knowledge and role in the

8    scheme, and will testify at trial about the conspiracy, including

9    Elaine’s and the various declarants’ involvement and the nature and

10   extent of the scheme.     Documentary evidence, including the kickback

11   Excel spreadsheet, bank records and Medicare records, will further

12   support this testimony.

13        Second, the defendant and the other declarants who made the out-

14   of-court statements were each participants of the conspiracy.            Errol,
15   Thelma, and Chavez have pleaded guilty to conspiracy charges, will
16   testify to their participation, and the factual bases supporting the
17   plea agreements identified the defendant and Elaine as participants
18   of the conspiracy.     Senatin and other witnesses will testify about
19   their participation, and the roles played by Elaine, Errol, Thelma,

20   and Chavez in the conspiracy.       Documentary evidence such as cash

21   withdrawal and deposit slips, bank statements, check payments, the

22   kickback spreadsheet, will also support this testimony.

23        Third, the statements the government intends to offer were made

24   in the course of and in furtherance of the conspiracy because they

25   facilitated the ongoing operation and/or concealment of the

26   conspiracy.    For example, statements by Elaine to Senatin involved

27   instructions on how to keep records of the kickbacks in the Excel

28   spreadsheet.    Elaine’s statements to Errol, Thelma, and Chavez

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     Case 2:17-cr-00410-PSG Document 77 Filed 06/11/18 Page 10 of 10 Page ID #:518



1    informed the other co-conspirators that the purpose of the payments

2    was to pay defendant and other physicians in exchange for referrals,

3    explained the mechanics of the payment system, and facilitated

4    specific kickbacks to referring physicians, including the defendant.

5    Elaine also made statements to Chavez instructing Chavez to delete

6    certain evidence of kickbacks.       Errol made statements to Senatin

7    instructing Senatin to delete the kickback spreadsheet that recorded

8    payments to referring physicians, including the defendant.            Such

9    statements were all made in the course of and in furtherance of the

10   conspiracy.

11         Finally, statements made in furtherance of a conspiracy were

12   expressly held by the Supreme Court in Crawford v. Washington, 541

13   U.S. 36, 56 (2004) to be “not testimonial” such that their admission

14   does not violate the Confrontation Clause.         Here, the statements the
15   government seeks to introduce are non-testimonial because they were
16   be discussions among and between the co-conspirators, at the time of
17   the conspiracy, and, therefore, there is no Confrontation Clause
18   issue.
19         Accordingly, out-of-court statements of defendant’s co-

20   conspirators made during the course of and in furtherance of the

21   conspiracy offered for the truth of the matter asserted should be

22   admitted under Federal Rule of Evidence 801(d)(2)(E).

23   V.    CONCLUSION
24         For all of the foregoing reasons, the government respectfully

25   requests that the Court grant the government’s motion to admit co-

26   conspirator statements under Federal Rules of Evidence 801(d)(2)(E).

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